
720 S.E.2d 667 (2012)
STATE of North Carolina
v.
Brian Keith BOOZER and Delshaun Darron Covington.
No. 157P11.
Supreme Court of North Carolina.
January 26, 2012.
Kevin P. Bradley, Durham, for Covington, Delshaun Darron.
Kimberly A. D'Arruda, Assistant Attorney General, for State of N.C.
C. Colon Willoughby, Jr., District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 19th of April 2011 by Defendant (Covington) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of January 2012."
